Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 1 of 14 PageID: 1




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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


JULIEANN R. GARDNER, an
individual; on behalf of herself and all
others similarly situated,

                   Plaintiffs,
                                                   Case No.: __________________
        vs.

TRANSWORLD SYSTEMS, INC., a
                                                  CLASS ACTION COMPLAINT
California Corporation doing business
as CREDIT MANAGEMENT
SERVICES; and JOHN AND JANE
DOES NUMBERS 1 THROUGH 50,

                   Defendants.


        Plaintiff, JULIEANN R. GARDNER, on behalf of herself and all those

similarly situated, by way of this Class Action Complaint against Defendants, says:

                                         I. PARTIES

        1.         JULIEANN R. GARDNER is a natural person. who, at all times

relevant to this complaint, was a citizen of, and resided in, the Township of

Gloucester City, Camden County, New Jersey.


                                         Page 1 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 2 of 14 PageID: 2




      2.     At all times relevant to this complaint, TRANSWORLD SYSTEMS,

INC. is a California corporation doing business as CREDIT MANAGEMENT

SERVICES. Based on information and belief, TRANSWORLD maintains its

principal business address at 2520 South 170th Street, City of New Berlin,

Waukesha County, Wisconsin.

      3.     Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 50,

are sued under fictitious names as their true names and capacities are yet unknown

to Plaintiff. Plaintiff will amend this complaint by inserting the true names and

capacities of these DOE defendants once they are ascertained.

      4.     The Plaintiff is informed and believe, and on that basis allege, that

Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 50, are natural

persons and/or business entities all of whom reside or are located within the United

States who personally created, instituted and, with knowledge that such practices

were contrary to law, acted consistent with and oversaw policies and procedures

used by the employees of TRANSWORLD that are the subject of this complaint.

Those Defendants personally control the illegal acts, policies, and practices utilized

by TRANSWORLD and, therefore, are personally liable for all of the wrongdoing

alleged in this Complaint.




                                    Page 2 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 3 of 14 PageID: 3




                         II. JURISDICTION & VENUE

        5.   Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1331.

        6.   Declaratory relief is available pursuant to under 28 U.S.C. §§ 2201,

2202.

        7.   Venue is appropriate in this federal district pursuant to 28 U.S.C. §

1391(b) because a substantial part of the events giving rise to Plaintiff’s claims

occurred within this federal judicial district, and because the Defendant,

TRANSWORLD, is subject to personal jurisdiction in the State of New Jersey at

the time this action is commenced.

                      III. PRELIMINARY STATEMENT

        8.   Plaintiff, on her own behalf and on behalf of the class she seeks to

represent, and demanding a trial by jury, brings this action for the illegal practices

of the Defendants who used false, deceptive and misleading practices, and other

illegal practices, in connection with their attempts to collect alleged debts from the

Plaintiff and others. Plaintiff alleges that the Defendants’ collection practices

violate the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

(“FDCPA”).




                                     Page 3 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 4 of 14 PageID: 4




      9.    Such practices include, inter alia:

      (a)   Leaving telephonic voice messages for consumers and others, which

            fail to provide meaningful disclosure of TRANSWORLD’s identity;

      (b)   Leaving telephonic voice messages for consumers, which fail to

            disclose that the call is from a debt collector; and

      (c)   Leaving telephonic voice messages for consumers, which fail to

            disclose the purpose or nature of the communication (i.e. an attempt to

            collect a debt).

      10.   The FDCPA regulates the behavior of collection agencies attempting

to collect a debt on behalf of another. The United States Congress found abundant

evidence of the use of abusive, deceptive, and unfair debt collection practices by

many debt collectors, and has determined that abusive debt collection practices

contribute to a number of personal bankruptcies, marital instability, loss of jobs,

and invasions of individual privacy. Congress enacted the FDCPA to eliminate

abusive debt collection practices by debt collectors, to ensure that those debt

collectors who refrain from using abusive debt collection practices are not

competitively disadvantaged, and to promote uniform State action to protect

consumers against debt collection abuses. 15 U.S.C. § 1692(a) - (e).

      11.   The FDCPA is a strict liability statute which provides for actual or

statutory damages upon the showing of one violation. The Third Circuit has held



                                   Page 4 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 5 of 14 PageID: 5




that whether a debt collector’s conduct violates the FDCPA should be judged from

the standpoint of the “least sophisticated consumer.” Graziano v. Harrison, 950

F.2d 107, 111, fn5 (3d Cir. 1991).

      12.    To prohibit harassment and abuses by debt collectors the FDCPA, at

15 U.S.C. § 1692d, provides that a debt collector may not engage in any conduct

the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt and names a non-exhaustive list of certain

per se violations of harassing and abusive collection conduct. 15 U.S.C. §

1692d(1)-(6). Among the per se violations is the placement of telephone calls

without meaningful disclosure of the caller’s identity, 15 U.S.C. § 1692d(6).

      13.    To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e,

outlaws the use of false, deceptive, and misleading collection letters and names a

non-exhaustive list of certain per se violations of false and deceptive collection

conduct. 15 U.S.C. § 1692e(1)-(16). Among these per se violations are: the failure

by debt collectors to disclose in initial oral communications that the debt collector

is attempting to collect a debt and that any information obtained will be used for

that purpose, and the failure to disclose in subsequent oral communications with

consumers that the communication is from a debt collector, 15 U.S.C. § 1692e(11).

      14.    The Plaintiff, on behalf of herself and all others similarly situated,

seeks statutory damages, attorney fees, costs, and all other relief, equitable or legal



                                     Page 5 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 6 of 14 PageID: 6




in nature, as deemed appropriate by this Court, pursuant to the FDCPA and all

other common law or statutory regimes. The Plaintiff, on behalf of herself and all

others similarly situated, requests that she and the class members be awarded

statutory, common law, or actual damages payable by the Defendants.

                   IV. FACTS CONCERNING PLAINTIFF

      15.    Sometime prior to February 2008, GARDNER allegedly incurred a

financial obligation (“Gardner Obligation”).

      16.    The Gardner Obligation arises out of a transaction in which the

money, property, insurance, or services which are the subject of the transaction are

primarily for personal, family, or household purposes.

      17.    GARDNER is alleged to have defaulted on the Gardner Obligation.

      18.    The Gardner Obligation is a “debt” as defined by 15 U.S.C.

§1692a(5).

      19.    GARDNER is, at all times relevant to this complaint, a “consumer” as

that term is defined by 15 U.S.C. § 1692a(3).

      20.    GARDNER is informed and believes, and on that basis alleges, that

sometime prior to February 2008, the creditor of the Gardner Obligation either

directly or through intermediate transactions assigned, placed, transferred, or sold

the debt to TRANSWORLD for collection.




                                   Page 6 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 7 of 14 PageID: 7




      21.    TRANSWORLD collects, and attempts to collect, debts incurred, or

alleged to have been incurred, for personal, family, or household purposes on

behalf of creditors using the U.S. Mail, telephone, and Internet.

      22.    TRANSWORLD is a “debt collector” as defined by 15 U.S.C. §

1692a(6).

      23.    Within the one year immediately preceding the filing of this

complaint, TRANSWORLD contacted GARDNER via telephone in an attempt to

collect the Gardner Obligation.

      24.    Within the one year immediately preceding the filing of this

complaint, TRANSWORLD placed telephone calls to GARDNER and left

prerecorded telephonic voice messages (“Messages”) on her home answering

machine.

      25.    On at least the dates of March 12, 13, 14, 24, 25, 26, and 27, of 2008,

TRANSWORLD left GARDNER the following “pre-recorded” Message on her

home answering machine:

      “We have a very important business call for - Julieann Gardner.
      Please call us back at 866-706-5681. Thank you.”

      26.    Each of the Messages is a “communication” as defined by 15 U.S.C. §

1692a(2).

      27.    Each of the Messages was left by, or caused to be left by, persons

employed by TRANSWORLD.

                                    Page 7 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 8 of 14 PageID: 8




       28.    Each of the Messages uniformly failed to identify TRANSWORLD as

the caller.

       29.    Each of the Messages uniformly failed to disclose that the

communication was from a debt collector.

       30.    Each of the Messages uniformly failed to disclose the purpose or

nature of the communication (i.e., an attempt to collect a debt).

       31.    Each of the Messages is false, deceptive, and misleading in that the

natural consequence of these communications is to harass, oppress, or abuse the

least sophisticated consumer and other persons in violation of the FDCPA.

       32.    Each of the Messages is false, deceptive, and misleading insofar as

TRANSWORLD failed to give meaningful disclosure of its identity, disclose the

purpose of its call, or disclose that TRANSWORLD is a debt collector, thereby

circumventing Congress’s intent to permit the Plaintiff to make an informed

decision as to whether they wished to speak with a debt collector.

              V. POLICIES AND PRACTICES COMPLAINED OF

       33.    It is Defendants’ policy and practice to leave telephonic voice

messages for consumers and other persons, such as the Messages, that violate the

FDCPA by uniformly failing to:

       (a)    Provide meaningful disclosure of TRANSWORLD’s identity as the

              caller;



                                    Page 8 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 9 of 14 PageID: 9




      (b)    Disclose that the communication was from a debt collector; and

      (c)    Disclose the purpose or nature of the communication (i.e., an attempt

             to collect a debt).

      34.    On information and belief, the Messages, as alleged in this complaint

under the Facts Concerning Plaintiff, number at least in the thousands.

                           VI. CLASS ALLEGATIONS

      35.    This action is brought as a class action. Plaintiff brings this action on

behalf of herself and on behalf of all other persons similarly situated pursuant to

Rule 23 of the Federal Rules of Civil Procedure.

      36.    The Plaintiff Class consists of all persons with addresses in the United

States of America who received a telephonic voice message from TRANSWORLD

left after one-year immediately preceding the commencement of this civil action up

through and including the date of preliminary class certification, which message

failed to meaningfully identify TRANSWORLD as the caller, disclose that the

communication was from a debt collector, or state the purpose or nature of the

communication.

      37.    The identities of all class members are readily ascertainable from the

records of TRANSWORLD and those companies and governmental entities on

whose behalf it attempt to collects debts.




                                    Page 9 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 10 of 14 PageID: 10




       38.       Excluded from the Plaintiff Class are the Defendants and all officers,

members, partners, managers, directors, and employees of TRANSWORLD and

their respective immediate families, and legal counsel for all parties to this action

and all members of their immediate families.

       39.       The class period is one year prior to the filing of the initial complaint

in this action and continues up to and including the date of preliminary class

certification.

       40.       There are questions of law and fact common to the Plaintiff Class,

which common issues predominate over any issues involving only individual class

members. Those principal issues are: whether the Defendants’ telephonic voice

messages, such as the Messages, violate 15 U.S.C. §§ 1692d(6) and 1692e(11).

       35.       The Plaintiff’s claims are typical of the class members, as all are

based upon the same facts and legal theories.

       36.       The Plaintiff will fairly and adequately protect the interests of the

Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with

experience in handling consumer lawsuits, complex legal issues, and class actions,

and neither the Plaintiff nor her attorneys have any interests, which might cause

them not to vigorously pursue this action.

       37.       This action has been brought, and may properly be maintained, as a

class action pursuant to the provisions of Rule 23 of the Federal Rules of Civil



                                       Page 10 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 11 of 14 PageID: 11




Procedure because there is a well-defined community interest in the litigation:

      (a)    Numerosity: The Plaintiff is informed and believes, and on that basis

            alleges, that the Plaintiff Class defined above is so numerous that

            joinder of all members would be impractical.

      (b)   Common Questions Predominate: Common questions of law and

            fact exist as to all members of the Plaintiff Class and those questions

            predominate over any questions or issues involving only individual

            class members. The principal issues are:

                (i)      Whether the Defendants’ telephonic voice messages,

                         such as the Messages, violate 15 U.S.C. §§ 1692d(6); and

                (ii)     Whether the Defendants’ telephonic voice messages,

                         such as the Messages, violate 15 U.S.C. §§ 1692e(11).

      (c)   Typicality: The Plaintiff’s claims are typical of the claims of the class

            members. Plaintiff and all members of the Plaintiff Class have claims

            arising out of the Defendants’ common uniform course of conduct

            complained of herein.

      (d)   Adequacy: The Plaintiff will fairly and adequately protect the

            interests of the class members insofar as Plaintiff has no interests that

            are adverse to the absent class members. The Plaintiff is committed to

            vigorously litigating this matter. Plaintiff has also retained counsel



                                    Page 11 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 12 of 14 PageID: 12




             experienced in handling consumer lawsuits, complex legal issues, and

             class actions. Neither the Plaintiff nor her counsel has any interests

             which might cause them not to vigorously pursue the instant class

             action lawsuit.

      (e)    Superiority: A class action is superior to the other available means

             for the fair and efficient adjudication of this controversy because

             individual joinder of all members would be impracticable. Class

             action treatment will permit a large number of similarly situated

             persons to prosecute their common claims in a single forum efficiently

             and without unnecessary duplication of effort and expense that

             individual actions would engender. An important public interest will

             be served by addressing the matter as a class action, substantial

             expenses to the litigants and to the judicial system will be realized,

             and the potential inconsistent or contradictory adjudications will be

             avoided as contemplated by Rule 23(b)(1) of the Federal Rules of

             Civil Procedure.

      38.    Certification of a class under Rule 23(b)(2) of the Federal Rules of

Civil Procedure is also appropriate in that the Defendants have acted or refused to

act on grounds that apply generally to the class, so that corresponding declaratory

relief is appropriate respecting the Plaintiff Class as a whole.



                                    Page 12 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 13 of 14 PageID: 13




      39.    Certification of a class under Rule 23(b)(3) of the Federal Rules of

Civil Procedure is also appropriate in that:

      (a)    The questions of law and fact common to members of the Plaintiff

             Class predominate over any questions affecting an individual member;

             and

      (b)    A class action is superior to other available methods for the fair and

             efficient adjudication of the controversy.

                VII. FIRST CAUSE OF ACTION
  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                (AGAINST ALL DEFENDANTS)

      40.    Plaintiff realleges and incorporates by reference the allegations in the

preceding paragraphs of this Complaint.

      41.    Defendants violated the FDCPA. Defendants’ violations with respect

to the Messages include, but are not limited to, the following:

      (a)    Placing telephone calls without providing meaningful disclosure of

             TRANSWORLD’s identity as the caller in violation of 15 U.S.C. §

             1692d(6).

      (b)    Failing to disclose in its initial communication with the consumer that

             TRANSWORLD is attempting to collect a debt and that any

             information obtained will be used for that purpose, which constitutes a

             violation of 15 U.S.C. § 1692e(11).



                                    Page 13 of 14
Case 1:09-cv-01374-NLH-AMD Document 1 Filed 03/25/09 Page 14 of 14 PageID: 14




      (c)    Failing to disclose in all oral communications that TRANSWORLD is

             a debt collector in violation of 15 U.S.C. §1692e(11).

                          VIII. PRAYER FOR RELIEF

      42.    WHEREFORE, Plaintiff respectfully requests that the Court enter

judgment in her favor and in favor of the Plaintiff Class as follows:

      (a)    An order certifying that the First Cause of Action may be maintained

             as a class pursuant to Rule 23 of the Federal Rules of Civil Procedure

             and appointing GARDNER and the undersigned counsel to represent

             the Plaintiff Class as previously set forth and defined above.

      (b)    An award of the maximum statutory damages for GARDNER and the

             Plaintiff Class pursuant to 15 U.S.C. § 1692k(a)(B);

      (c)    Declaratory relief adjudicating that TRANSWORLD’s telephone

             messages violate the FDCPA;

      (d)    Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C. §

             1692k(a)(B)(3); and

      (e)    For such other and further relief as may be just and proper.

                                          WACKS & HARTMANN, LLC

Dated: March 25, 2009                             /s/ Philip D. Stern
                                                  PHILIP D. STERN
                                   Attorneys for Plaintiff, Julieann R. Gardner, and
                                             all others similarly situated




                                   Page 14 of 14
